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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )             8:04CR294
              Plaintiff,                  )
                                          )
vs.                                       )               ORDER
                                          )
CHRISTOPHER M. McWILLIAMS,                )
                                          )
          Defendant.                      )



       Before the Court is defendant’s Motion for Appointment of Counsel Under the
Criminal Justice Act [172]. Good cause being shown, I will grant the motion and Michael
D. Nelson will be appointed to represent the defendant regarding Rule 35 matters.

IT IS ORDERED that the Motion for Appointment of Counsel Under the Criminal Justice Act
[172] is granted.

IT IS FURTHER ORDERED that Michael D. Nelson is appointed as attorney of record for
the above-named defendant.

 IT IS FURTHER ORDERED that the Federal Public Defender's Office shall forthwith
provide counsel with a draft appointment order (CJA Form 20) bearing the name and
other identifying information of the CJA Panel attorney identified in accordance with the
Criminal Justice Act Plan for this district.

 IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to the
Federal Public Defender and Mr. Nelson.

DATED this 11th day of April, 2006.

                                   BY THE COURT:


                                   s/ F. A. Gossett
                                   United States Magistrate Judge
